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          17                           UNITED STATES DISTRICT COURT
          18                          CENTRAL DISTRICT OF CALIFORNIA
          19                                      SOUTHERN DIVISION
          20     MASIMO CORPORATION,                       CASE NO. 8:20-cv-00048-JVS (JDEx)
                 a Delaware corporation; and
          21     CERCACOR LABORATORIES, INC.,              DEFENDANT APPLE INC.’S NOTICE
                 a Delaware corporation,                   OF MOTION AND MOTION TO
          22                                               COMPEL SUPPLEMENTAL
                                    Plaintiffs,            RESPONSES TO APPLE’S
          23                                               INTERROGATORY NOS. 4–5 AND 23
                       v.
          24                                              Judge:     Magistrate Judge John D. Early
                 APPLE INC.,                              Date/Time: February 18, 2021 / 10:00 AM
          25     a California corporation,                Courtroom: 6A
          26                        Defendant.            Discovery Cutoff:       7/5/2021
                                                          Pre-trial Conference:   3/21/2022
          27                                              Trial:                  4/5/2022
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Gibson, Dunn &       DEFENDANT APPLE INC.’S NOTICE OF MOTION TO COMPEL SUPPLEMENTAL RESPONSES TO
Crutcher LLP
                                         APPLE’S INTERROGATORY NOS. 4–5 AND 23
                                              CASE NO. 8:20-cv-00048-JVS (JDEx)
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            1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
            2           PLEASE TAKE NOTICE that on February 18, 2021, at 10:00 AM, or as soon
            3    thereafter as the matter may be heard, in Courtroom 6A of the United States District
            4    Court for the Central District of California at Ronald Reagan Federal Building and
            5    United States Courthouse, 411 W. Fourth Street, Santa Ana, California, 92701,
            6    Defendant Apple Inc. (“Apple”) will and hereby does move the Court under Federal
            7    Rule of Civil Procedure 37 and Local Rule 37-2 to order Plaintiffs Masimo Corporation
            8    and Cercacor Laboratories, Inc. (collectively, “Plaintiffs”) to provide supplemental
            9    responses to Apple’s Interrogatory Nos. 4–5 and 23.
          10            For Interrogatory Nos. 4 and 5, Apple requests that the Court order Plaintiffs to
          11     identify in detail, for each claim of each of the Apple Patents and Applications, the
          12     specific subject matter Plaintiffs allege was contributed by their employees (including
          13     Mr. Lamego), which individual(s) invented that specific subject matter and when, what
          14     evidence Plaintiffs are aware of that support their contention, and an identification of
          15     how the subject matter they supposedly contributed differs from what was known in the
          16     prior art.
          17            For Interrogatory No. 23, Apple requests that the Court order Plaintiffs to identify
          18     the date Plaintiffs first learned about each Apple Patent or Application, how Plaintiffs
          19     learned about each Apple Patent or Application, who first learned about each Apple
          20     Patent or Application, with whom they discussed each Apple Patent or Application, and
          21     when those discussions occurred, and what actions Plaintiffs took with respect to each
          22     Apple Patent or Application after they learned of them, including but not limited to
          23     internal discussions, discussions with prosecution counsel, any steps that were taken to
          24     investigate the inventorship/ownership of each Apple Patent or Application, and any
          25     alleged harm Plaintiffs believe they suffered as a result of Apple’s filing of each Apple
          26     Patent or Application.
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Gibson, Dunn &          DEFENDANT APPLE INC.’S NOTICE OF MOTION TO COMPEL SUPPLEMENTAL RESPONSES
Crutcher LLP
                                         TO APPLE’S INTERROGATORY NOS. 4–5 AND 23
                                               CASE NO. 8:20-cv-00048-JVS (JDEx)
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            1          Pursuant to Local Rule 37-1, the parties met and conferred in good faith following
            2    a letter from Apple laying out the grounds for this Motion, but were unable to resolve
            3    the disputes presented here. See Declaration of Brian K. Andrea ¶¶ 15–18.
            4          This Motion is based on this Notice of Motion and Motion, the accompanying
            5    Joint Stipulation, Apple’s supporting declarations and exhibits attached thereto, and
            6    such further evidence and argument as may be presented at or before the hearing on this
            7    matter. Plaintiffs also have submitted accompanying declarations and exhibits in
            8    support of their position in the Joint Stipulation.
            9
          10     Dated: January 28, 2021
          11                                             Respectfully submitted,
          12                                             JOSHUA H. LERNER
                                                         H. MARK LYON
          13                                             BRIAN M. BUROKER
                                                         BRIAN A. ROSENTHAL
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                                                         ANGELIQUE KAOUNIS
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          16
          17                                             By:    /s/ Joshua H. Lerner
                                                               Joshua H. Lerner
          18
                                                         Attorneys for Defendant Apple Inc.
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Gibson, Dunn &          DEFENDANT APPLE INC.’S NOTICE OF MOTION TO COMPEL SUPPLEMENTAL RESPONSES
Crutcher LLP
                                         TO APPLE’S INTERROGATORY NOS. 4–5 AND 23
                                               CASE NO. 8:20-cv-00048-JVS (JDEx)
